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   Fill in this information to identify your case:

   Debtor 1
                        J ame                  iddle Name              Last Na e

                                                                                                            O     Check if this is an amended plan, and
   Debtor 2                                                                                                       list below the sections of the plan that
   (Spouse, ((Sling) First Name               Middle Name              Last Name                                  have been changed. Amendments to
                                                                                                                  sections not listed below will be
 United States Bankruptcy Court for the Northern District of Georgia                                              ineffective even if set out later in this
                                                                                                                  amended plan.
  Case number
   (Iri:nom)
                                                                                                          19-62147
Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                           in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3016.1. See
                           Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                           No. 21-2017, available in the Clerk's Office and on the Bankruptcy Court's website, ganb.uscourts.gov.
                           As used in this plan, "Chapter 13 General Order" means General Order No. 21-2017 as it may from time
                           to time be amended or superseded.

   Part 1:            Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                           option is appropriate In your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                           rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.
                           0    The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. §101(14A)), set out in
                                § 4.4.                                                                                                                •
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                           have an attorney, you may wish to consult one.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                           otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is
                           deemed allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                          The following matters may. be of particular importance. Debtor(s) must check one box on each line to state whether or
                          not the plan includes each of the following items. If an item is checked as "Not included," if both boxes are
                          checked, or If no box Is checked, the provision will be ineffective even if set out later in the plan.

                                       A limit on the amount of a secured claim, that may result in a partial
                             § 1.1                                                                                         %,ciuded             II No.t Included
                                       payment or no payment at all to the secured creditor, set out in § 3.2
                                       AvdJdance of a judicial lien or nonpossessory, nonpurchase-money
                             § 1.2                                                                                          included             III   Not Included
                                       sec rity interest, set out in § 3.4

                             §c1
                              . _4?3   Non     ;dard provisions, set out in Part 8                                     •    Included           W       Not
                                                                                                                                                       . Included
                                               ;




                             11)




                             :=1)


                            C T",
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  Debtor                                                                                         Case number

 1=111                 Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

 § 2.1 Regular Payments to the trustee; applicable commitment period.
              The applicable commitment period fort       debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:
              Check one:         0 36 months             0 months
              Debtor(s) will make regular payments ("Regular Payments') to the trustee as follows:

              The debtor(s) will pay 1-111e•           per 60           for the applicable commitment period. If the applicable commitment period is 36
                                    iko
              months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed
              60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
              the applicable commitment period, no further Regular Payments will be made.
              Check if applicable.
              O The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
                 reproduced. Insert additional lines as needed for more changes.):
                           cri,.7.   •



                                         •:                .


                                               (.3C)    per    pykiti
                                                                                       I     iti-Gt•--O
                  • <190141
 § 2.2 Regular Payments; method of payment.
              Regular Payments to the trustee will be made from future income in the following manner:
              Check all that apply.      •
          O Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
            amount that should have been deducted.

        ..01;ebtor(s) will make payments directly to the trustee.

          O Other (specify method of payment):

'§ 2.3 Income tax refunds.
              Check one.
                   ebtor(s) will retain any income tax refunds received during the pendency of the case.
          O Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of
            filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
            commitment period for tax years                                            • , the amount by which the total of all of the Income tax refunds
            received for each year exceeds $2,000 ("Tax Refunds"), unless the Bankruptcy Court orders otherwise. If debtor's spouse Is not a
            debtor in this case, "tax refunds received" means those attributable to the debtor.

          •      Debtor(s) will treat tax refunds ("Tax Refunds") as follows:



§ 2.4 Additional Payments.
          Check ne.
            None. If "None" is checked, the rest of § 2.4 need not be completed or reproduced.
          O Debtor(s) will make idditional payment(s) ("Adaltional Payments") to the trustee from other sources as specified below. Describe the source,
            estimated amount, and date of each anticipated payment.



§ 2.5 [Intentionally omitted.]



§ 2.6     Disbursement of funds by trustee to holders of allowed claims.

          (a)Disbursements before confirmation of plan. The trustee will make preconfirrnation adequate protection payments to holders of allowed
          claims as set forth in §§ 3.2 and 3.3.
          (b)Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee, the trustee will disburse Regular

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  Debtor- 111                                                                             Case number
         Payments, Addi onal Pa ments, and Tax RI funds that are available for disbursement to make payments to holders of allowed claims as follows:
           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will disburse all
           available funds from Regular Payments in the following order:
               (A)To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in § 3.2, § 3.3, and
               orders of the Bankruptcy Court;
               (B)To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (C)To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
               domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in § 5.2; and on
               executory contracts and unexpired leases as set forth in § 6.1; and
               (D)To pay claims in the order set forth in § 2.6(b)(3).
           (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after confirmation, and
           each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below. All available Regular Payments
           will be distributed to the claims in each paragraph until such claims are paid in full.
               (A)To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in §§ 3.1, 3.2, 3.3,
               and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic support obligations as set forth in
               § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory contracts and unexpired leases as
               set forth in § 6.1;
               (B)To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs; and               .
               (C)To pay claims in the order set forth in § 2.6(b)(3).
                                                                .
           (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in the
           following order:
               (A)To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
               (B)To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
               attorney's fees, expenses, and costs;
              (C)To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
              domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
              executory contracts and unexpired leases as set forth in § 6.1;
              (D)To pay other Allowed Secured Claims as set forth in § 3.6;
              (E)To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support obligations;
              and
              (F)To pay nonpriority unsecured claims not otherwise classified as set forth In § 5.1 ("Unclassified Claims") and to pay nonpriority
              unsecured claims separately classified as set forth in § 5.3 ("Classified Claims"). The trustee will estimate the total amounts to be disbursed
              during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement on these claims will
              be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro rata to the creditors in the class.
           (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received from the
           debtor(s) as Regular Payments.


   Part 3:      Treatment of Secured Claims

§ 3.1 Maintenance of payments and cure of default, if any.
       Check onb.
    ‘,...43-11cine.If "None" Is checked, the rest of § 3.1 need not be completed or reproduced.
       0    Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the current
            contractual installment payments on the secured claims listed below, with any changes required by the applicable contract and noticed in
            conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing arrearage on a listed claim will
            be paid in full through disbursements by the trustee, with interest, if any, at the rate stated below.
            If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court orders
            otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
            treated by the plan.




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  Debtore-1,./                                                                                   Case number
 § 3.2 Request for valuation of security, paymentk fully secured claims, and modification of undersecured claims.
                one. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.
               The remainder of this paragraph will be effective only if the applicable box in Part I of this plan Is checked.
            El The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.
                For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set out in the
                column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court orders otherwise, the value
                of a secured claim listed In a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For
                each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy Rule 3012 and the Chapter 13 General Order to request
                determination of the amount of the secured claim.                                                                                .
                                                                               -
                For each listed claim below, the value of the secured claim will be paid in full with interest at the rate stated below. The portion of any allowed
                claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the amount of a
                creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated In its entirety as an unsecured claim
                under Part 5 of this plan.
               The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
               amount set out in the column headed Monthly preconfirmation adequate protection payment.
               The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
               of the debtor(s) or the estate(s) until the earlier of:
               (a)payment of the underlying debt determined under nonbankruptcy law, or
                                                                                                                                                  e
               (b)payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under
               11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
                                                 -ZFrf
                                                                           •                                                                                •
                                                                                                                                                                '      •




        0

§ 3.3 Secured claims excluded from 11 U.S.C. § 506.
        Checlne.
       Val/one. If 'Alone" is checked, the rest of § 3.3 need not be completed or reproduced.
       0 The claims listed below were either:
               (1)Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
               personal use of the debtor(s), or
               (2)incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
               These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.
               The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
               amount set out in the column headed Monthly preconfirmation adequate protection payment.
               The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
              (a)payment of the underlying debt determined under nonbankruptcy law, or
              (b)payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under 11 U.S.C.
              § 1328, at which time the lien will terminate and be released by the creditor.
                                                                           if    I                                             13C-.11.14,1       11;,t01, 011 ,

                                                                                                                                                                    • •••••
                                                                                                                           •




§ 3.4 Lien avoidance.
        39ck one.
    ../.1     None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.
              The remainder of this paragraph will be effective only if the applicable box in Part I of this plan is checked.



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 Debtor                                 Lar\c                                                 Case number
        0    The judicial liens and/or nonpossessory nonpurchase money security interests securing the claims listed below impair exemptions to which
             the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless the Bankruptcy Court orders otherwise, a judicial lien or security
             interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan.
             The amount of the claim secured by the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the
             extent allowed. The amount, If any, of the claim secured by the judicial lien or security interest that is not avoided will be paid in full as a
             secured claim under the plan to the extent allowed. See 11 U.S.C. § 522(t) and Bankruptcy Rule 4003(d). If more than one lien is to be
             avoided, provide the Information separately for each lien.

                   7




               Name of creditor                                                                                                  Amount of secured claim after
                                                    a. Amount of lien                                                            avoidance (line a minus line f)

                                                    b. Amount of all other liens
               Collateral
                                                    c.     Value of claimed exemptions                                          Interest rate (if applicable)

                                                    d.     Total of lines a, b, and c

                                                    e.     Value of debtor(s) interest in                                        Monthly payment on secured
                                                           property                                                              claim


              Lien identification (such as          f. Subtract line e from line d
              judgment date, date of lien
              recording)
                                                    Extent of exemption impairment
                                                   (Check applicable box).

                                                         O Line f is equal to or greater than line a.
                                                           The entire lien is avoided. (Do not complete the next column.)
                                                         O Line f is less than line a.
                                                           A portion of the lien is avoided. (Complete the next column.)
§ 3.5 Surrender of collateral.
       Check one.
            - None. If "None" Is checked, the rest of § 3.5 need not be completed or reproduced.
       0    The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditors claim. The debtor(s) request(s) that,
            upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be
            terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed unsecured claim resulting from the
            disposition of the collateral will be treated in Part 5 below. No payments as to the collateral will be made, and all secured claims based on the
            collateral will not otherwise be treated by the plan.




§ 3.6 Other Allowed Secured Claims.
       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
       of         %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
       object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
       permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditors lien pursuant to 11 U.S.C. § 522(f), if
       applicable.
       If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
       will be treated as an unsecured claim under Part 5 of this plan.
       The holder of the claim will retain the lien on the.property interest of the debtor(s) or the estate(s) until the earlier of:
       (a)payment of the underlying debt determined under nonbankruptcy law, or
       (b)payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
       § 1328, at which time the lien will terminate and be released by the creditor.



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    Debtor

        Part 4:
                         ftLarctJ
                    Treatment of Fees and Priority Claims
                                                                                                Case number


   § 4.1 General.
           Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
           of whether it is listed In § 4.4.
   § 4.2 Trustee's fees.
            Trustee's fees are governed by statute and may change during the course of the case.
   § 4.3 Attorney's fees.
           (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation In this case are
                            . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General Order
           22-2017 ("Chapter 13 Attorney's Fees Order"), as it may be amended.
           (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
           forth in the Chapter 13 Attorney's Fees Order.
    •      (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in § 4.3(a)
           above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.
           (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
           §4.3(a).
           (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $                  per month from Regular
           Payments and (2) from Tax Refunds or Additional Payments, as set forth In § 7.6, until all allowed amounts are paid in full.
           (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
           the amount of $                  ,not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits.. If the attorney for the
           debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
           stated amount or the maximum amount to the attorney, whichever Is less.
           (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
                                not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
           the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
           14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
           Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.
           (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
           from the funds available, any allowed fees, expenses, and costs that are unpaid.
           (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any allowed
           fees, expenses, and costs that are unpaid.


  § 4.4 Priority claims other than attorney's fees.
         )201tIone. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.
           (a)Check one.
           o   The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or reproduced.

          ID The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition domestic support
             obligations directly to the holder of the claim. .




           (b)The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                        FE -,rVat    -V




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 Debtor                                                                                      Case number

       Part 5:     Treatment of Nonpriority U            ecured Claims
 § 5.1     Nonpriority unsecured claims not separately classified.
           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
           receive:
              hr one.

        .;:    A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

          O A pro rata portion of the larger of (1) the sum of $            and (2) the funds remaining after disbursements have been made to all other
            creditors provided for in this plan.
          O The larger of (1)         % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
            made to all other creditors provided for in this plan.
          O 100% of the total amount of these claims

          Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
          allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
          debtor(s), and other priority claims under Part 4.

§ 5.2     Maintenance of payments and cure of any default on nonpriority unsecured claims.
          Check one:
         --Er None. If "None" is checked, the rest of § 5.2 need not be ccimpleted or reproduced.
          O The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on
            which the last payment is due after the final plan payment. These payments will be disbursed directly by the debtor(s). The claim for the
            arrearage amount will be paid in full as specified below and disbursed by the trustee.




§ 5.3     Other separately classified nonpriority unsecured claims.
          Check one.
         ,„Er None. If "None" Is checked, the rest of § 5.3 need not be completed or reproduced.
          O The nonprioritfunsecured allowed claims listed below are separately classified. Each claim will receive pro rata payments as set forth In
            § 2.6. The unpaid balance will be paid in full, including interest at the rate stated below, if applicable.




   Part 6:        Executory Contracts and Unexpired Leases

§ 6.1     The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
          and unexpired leases are rejected.

          Check one.
        ‘None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.
          O Assumed items. Current installment payments will be disbursed directly by the debtor(s). Arrearage payments will be disbursed by the
   •        trustee. The final atiumn includes only payments disbursed by the trustee rather than by the debtor(s).




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 Debtc;1---41 r T                       "    1—an diq                                      Case number

    Part 7:         Vesting of Property of the Estate 1

 § 7.1    Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
          debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
          completion of payments by the debtor(s).

   Part 8:          Nonstandard Plan Provisions

 § 8.1    Check "None" or list Nonstandard Plan Provisions.
        )241one. .If "None" is checked, the rest of Pali 8 need not be completed or reproduced.
    ,
          Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
          included in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere In this plan are ineffective.

         The following plan provisions will be effective only if there is a check in the box "Included" in § 1.3. (Insert additional lines if needed.)




   Part 9:          Signatures

§ 9,1     Signatures of Debtor(s) and Attorney for Debtor(s).
          The de     (s) must sign     low. The a    ey for the debtor(s), if any, must sign below.



          Signature o      or 1                                                           Signature of debtor 2 executed on
                                                MM / D                                                                        MM / DD / YYYY
                                     \../


          Address                                        City, State, ZIP code            Address                                       City, State, ZIP code


                                                                                          Date:
          Signature of attorney for debtor(s)                                                     MM / DD / YYYY




                                                                                          Address                                       City, State, ZIP code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(les) that the wording and
order of the provisions in this Chapter 13 Plan are Identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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